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April 11", 2021
To Whom it may concern,

Upen hearing the news of Julian being detained, I was in
shock. Having known Julian all if his life, and basically growing
up together, I know he is one of the most considerate and kind
people. We spent countless hours riding bikes, climbing, and
playing tag. He was such a gentle person he could not even kill a
bug without getting upset. He is an amazing uncle to his
nephews and nieces, playing hide and seek and making. funny
faces to keep them entertained for hours. He never misses an
opportunity to hang out with his family, whether it be onthe
average day, or on any special trips and holidays, since some of
his brothers live out of state, and because family is so important
to him. He comes from a very loving, tight-knit family that is

‘well-respected in the community. Even as adults, we have spent
many a holiday playing board games and charades after the main
courses and deserts are completed, he has played tirelessly to
keep everyone engaged in the game.

Tn his work life he was the utmost professional employee
and coworker. He was an exceptionally good team player and
loved by many of the customers he served whether it was at
PNC Bank, Top Golf, or even Panico’s Restaurant. Also, while
at Top Golf he exceeded performance in his job and was
managing larger party bookings always being on top of any
situation that should arise and diffusing any conflict peacefully.
In short, he operates with integrity and is well liked by
everyone. Julian is a person of high moral character, he never
hesitates if someone needs-a helping hand, and always one to
ask if you need something before you even get a chance to ask.

‘As a whole Julian is a reliable, trustworthy and loving
person. I leave you with this example, Julian is the godfather of
one of my nephews and during the ceremony my nephew would
not sit still or stop crying, so Julian ever the problem solver
spent most of the ceremony tickling my nephew’s feet and
playing peek-a-boo so he would not be crying the whole time.

That is the Julian we all know and love.

Thank you.
J am" Khater

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